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                       Exhibit A

                     Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                             )
In re                                                        )     Chapter 11
                                                             )
TOUGH MUDDER INC., et al., 1                                 )     Case No. 20-10036 (CSS)
                                                             )
                       Debtors.                              )     Jointly Administered
                                                             )
                                                             )     RE: D.I. ___
                                                             )

    ORDER SHORTENING NOTICE AND OBJECTION PERIODS FOR CHAPTER 11
     TRUSTEE’S MOTION FOR ENTRY OF AN ORDER CONVERTING DEBTORS’
        CHAPTER 11 CASES TO CHAPTER 7 OF THE BANKRUPTCY CODE

                 Upon the motion (the “Motion to Shorten”) 2 of Derek C. Abbott, Esq., the chapter 11

trustee (the “Trustee”) for Tough Mudder Inc. and Tough Mudder Event Production Inc.

(collectively, the “Debtors”) for entry of an order pursuant to sections 102 and 105 of the

Bankruptcy Code, Bankruptcy Rule 9006 of the Bankruptcy Rules, and Local Rule 9006-1,

shortening the notice and objection periods and limiting notice with respect to the Motion to Convert

as more fully described in the Motion to Shorten; and the Court having jurisdiction to consider the

matters raised in the Motion to Shorten pursuant to 28 U.S.C. § 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and the Court having authority to hear the matters raised in the Motion to

Shorten pursuant to 28 U.S.C. § 157; and venue being proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and consideration of the Motion to Shorten and the requested relief being a core

proceeding that the Court can determine pursuant to 28 U.S.C. § 157(b)(2); and the Court having

1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845). The Debtors’
        address is 15 MetroTech Center, Brooklyn, NY 12201.
2
        Capitalized terms not defined herein are used as defined in the Motion to Shorten.
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reviewed and considered the Motion to Shorten; and the Court having determined that the legal and

factual bases set forth in the Motion to Shorten establish just cause for the relief sought herein; and

the Court having found that the relief requested in the Motion to Shorten is in the best interests of the

Debtors, their creditors, their estates, and other parties in interest; and after due deliberation and

sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

                1.      The Motion to Shorten is GRANTED as set forth herein.

                2.      The Motion to Convert will be heard at the hearing scheduled for March 30,

2020, at 1:00 p.m. (Eastern Daylight Time).

                3.      Objections, if any, to the relief requested in the Motion to Convert must be

made on or before March 23, 2020, at 4:00 p.m. (Eastern Daylight Time).

                4.      The Court retains jurisdiction to construe and enforce the terms of this Order.



Dated: ____________, 2020
       Wilmington, Delaware
                                          ________________________________________
                                          THE HONORABLE CHRISTOPHER S. SONTCHI
                                          CHIEF UNITED STATES BANKRUPTCY JUDGE




                                                   2
